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MINUTES OF THE REGULAR QUARTERLY MEETING
OF THE BOARD OF DIRECTORS
OF SPORT-BLX, INC.

August 14, 2019

The Board of Directors (the “Beard”’) of Sport-BLX, Inc. (the “Corporation” or the “Company” held a
regular meeting (the “Meeting”) on Wednesday, August 14, 2019 commencing at approximately 3:00 pm
Eastern Time pursuant to a call made by the President of the Corporation and notice duly given to each
director.

The following directors of the Corporation, constituting a quorum, were present at the Meeting:
George E. Hall, Executive Chairman
Joseph A. De Perio
Francis A. Ruchalski
Michael Salerno
Daniel A. Strauss
Mr. Hall presided at the Meeting.
Mr. De Perio served as Secretary of the Meeting.

The Executive Chairman reported that a quorum was present and that the Meeting was open.

Approval of Minutes

Mr. Hall led a discussion of the minutes of the Board’s last two Board meetings subject to drafts previously
provided. Mr. Salerno introduced a topic of placing a D&O policy for the benefit of the Board. Despite
previous discussions, Mr. Salerno assured the Board that neither he nor Cypress Holdings III, L.P., a
stockholder of the Corporation (““Cypress’’), was threatening litigation. Further discussion ensued. Upon
a motion duly made and seconded, the members of the Board present resolved to approve the minutes of
the last two Board meetings with a vote of 4 in favor, 0 opposed, and 1 abstention (by Mr. Salerno).

General Summary Update on the Company

Mr. Hall led a discussion of the Company’s progress organized in the following workstreams: technology,
legal, personnel, and upcoming offerings. Mr. De Perio added commentary on each of the topics. A
discussion ensued regarding contemplated upcoming offerings in both horse racing and basketball.

Update on the Financial Condition of the Company

Mr. Hall and Mr. De Perio led a discussion of the Company’s year to date financial results (See Exhibit 1).
Mr. De Perio noted that the Company was under its budget provided to shareholders in QI and Q2 of 2019
(the “Budget’) for total expenses, although the actual legal expenses exceeded its Budget due to the
complexity of structuring the share offerings. Mr. De Perio also noted that the Company had not generated
revenues yet as delays were experienced from legal structuring of the share offerings. Mr. De Perio also

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noted that the Company’s headcount was below the Budget. A discussion ensued about the financial results
and the presentation of the financial results.

FINRA Application

Mr. Hall provided an update on the existing application for the registration of the Company’s wholly-owned
subsidiary, BLX Trading Corp. (“BLX Trading”), as a broker-dealer. Mr. De Perio stated that a broker-
dealer registration requires, among other things, BLX Trading to identify and disclose the identity of its
beneficial owners to FINRA, which includes its stockholder (e.g., the Company), as well as its indirect
beneficial owners (¢.g., the Company’s stockholders) until the natural person owners of all entities in the
chain of ownership have been identified and disclosed to FINRA. Mr. De Perio indicated that while the
Company’s other stockholders provided beneficial ownership information, despite multiple requests,
Cypress refused to provide such beneficial ownership information in a manner contemplated by such
regulations. (See Exhibit 2). Mr. Salerno reiterated his position that Cypress did not intend to provide such
beneficial ownership information to the Company. Mr. Hall described the requirement of FINRA for an
applicant to “know its investors” and explained that the broker-dealer regulations required BLX Trading to
identify and disclose the identity of the beneficial owners of the Company. Mr. Salerno stated that he
desired to review the matters with his counsel and, on behalf of Cypress, Mr. Salerno agreed to get back to
the Company regarding the Company’s request that Cypress provide its beneficial ownership as required
by such regulations by end of business (5 pm EDT) on August 16, 2019.

Company’s Office Space Requirements and Hiring Projections

Mr. Hall led a discussion of the Company’s current office space needs. Mr. De Perio added that Company
was often short of conference room space as there were numerous meetings regarding fundraising and
development activities of the Company’s consultants. Mr. De Perio noted that more space was required in
the near future as the Company intended to add development, technology, sales and marketing headcount.
A discussion ensued on options for the Company’s space, and Mr. Salerno suggested options to reduce the
expenditure on office space. Mr. De Perio commented that the Company’s expenditure on office space was
consistent with the Budget and noted that each shareholder made representations in his/her purchase
agreement to such diligence. The Board was informed by management that any increase in office space
cost would be voted on by shareholders in an upcoming meeting.

Executive Compensation Plan

Mr. Hail led a brief discussion of the Company’s executive compensation plan. Mr. De Perio added that
the Company was operating consistent with the Budget.

Capital Plan

Mr. Hall led a discussion of the Company’s capital requirements in the near-term. A discussion ensued
about potential structures to make a fundraising attractive to more potential shareholders, including offering
a lower pre-money valuation or adding a convertible preferred stock tranche to the Company’s capital stack.
A discussion ensued, and no members of the Board objected to this recommended course of action.

Employee Stock Option Plan

Mr. Hall led a discussion of the Company’s need to adopt a stock option plan to assist in the recruitment
and retention of its executive team. Mr. De Perio solicited questions on the draft option plan documents
provided to the Board (Exhibit 3). Upon a motion duly made and seconded, the members of the Board

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present unanimously resolved to recommend the shareholder plan to the shareholders for vote in the
upcoming shareholders meeting.

Ratification of Shareholder Purchases

Upon a motion duly made and seconded, the members of the Board present unanimously resolved ratify
the previous purchases of common equity by the shareholders of the Company (See Exhibit 4).

Thereafter, being no further business before the Board. Mr. Hall noted that the next regular quarterly
meeting of the Board would be in November 2019. The Meeting adjourned at 4:30 p.m. Eastern Time.

ae E. Hall, Executive Chairman

ATTEST:

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Joseph A. De Perio, President and Secretary

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